









Dismissed and Memorandum Opinion filed November 4, 2004









Dismissed and Memorandum Opinion filed November 4,
2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00716-CV

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&nbsp;

CATHERINE SMITH,
Appellant

&nbsp;

V.

&nbsp;

CHASE BANK OF TEXAS, N.A., LOWE=S HOME CENTER, INC., and MIKELYN
CORKRAN, Appellees

&nbsp;



&nbsp;

On Appeal from the County Court at
Law No. 2

Harris County, Texas

Trial Court Cause No.
797,986

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

This is an appeal from a judgment signed March 26, 2004.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On October 5, 2004, notification was transmitted to all
parties of the Court's intent to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).








Appellant filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed November 4, 2004.

Panel consists of Justices
Anderson, Hudson, and Frost.

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